                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

IRA D. SOCOL,                        )
      Plaintiffs,                    )                         Civil Action No. 3:18CV00090
                                     )
v.                                   )
                                     )                         SCHEDULING ORDER
 ALBEMARLE COUNTY SCHOOL BOARD et al.,)
     Defendants.                     )

The court proposes the following as the scheduling order pursuant to Federal Rule of Civil
Procedure 16(b). If no party requests a change within 10 days, it will constitute the scheduling
order in this case. The court may amend the order on its own motion or the parties may amend
its disclosure and discovery provisions by submitting an agreed written plan that satisfies the
requirements of Rule 26(f).
                                          Summary

TRIAL DATE:                    July 28-31, 2020        (Civil Jury Trial)

TIME:                          9:30 a.m.

PLACE:                         United States District Court
                               255 W. Main Street, Room 300
                               Charlottesville, VA 22902

PLAINTIFF(S) INITIAL DISCLOSURES:                                      November 4, 2019

DEFENDANT(S) INITIAL DISCLOSURES:                                      November 18, 2019

DEADLINE TO COMPLETE DISCOVERY:                                        June 12, 2020

DEADLINE TO FILE DISPOSITIVE MOTIONS:                                  June 18, 2020

        In order to ensure fair and orderly processing of this case, it is now

                                           ORDERED
as follows:
                                       Trial and Settlement

1.      This case is scheduled for a jury trial, tentatively scheduled to begin @ 9:30 a.m. on

        July 28, 2020, and scheduled to last four days.

2       At the request of any party, the court will conduct a final pretrial conference before trial.




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3.   Counsel shall advise the Court of the potential need for any daily copy

     transcript requests, seven days prior to trial in order that arrangements can be made

     to honor such requests.

4.   Proposed jury instructions and special interrogatories must be submitted to the court at

     least seven (7) days prior to trial, with copies provided to opposing counsel at least

     fourteen (14) days prior to trial.

5.   Absent a contrary ruling from the court, or unless all the parties agree otherwise, issues of

     liability and damages will be bifurcated. If the trial is bifurcated, the same jury will hear

     both issues.

6.   If the case settles prior to trial and the court does not receive the proposed final order

     within 30 days after the court received oral or written notification of the settlement, the

     court will dismiss the case with prejudice without further notice.

                                           Motions

7.   A motion to dismiss included in an answer will not be considered and will be summarily

     denied. Such motions must be filed by way of an independent pleading, supported by

     legal authority.

8.   A supporting brief must accompany all pretrial motions, except unopposed motions and

     motions for continuance, unless the motion contains the legal argument necessary to

     support it. If a motion was filed before entry of this order without supporting legal

     argument, the movant must file a supporting brief within 14 days of the entry of this

     order. If the motion is opposed, a brief in opposition must be filed within 14 days of the

     service of movant's brief (or within 14 days of this order if a motion and supporting brief

     were served before this order). Except for good cause shown, if a brief opposing a

     motion is not timely filed, the court will consider the motion to be unopposed. If the




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      moving party desires to submit a reply brief, it must be filed within 7 days of the date of

      service of the brief opposing the motion.

9.    If any party desires a hearing on a motion, the hearing may be scheduled with the court

      before or after the filing of the motion, but must be scheduled promptly following the

      filing of the last brief, or the court will consider the motion to be submitted for decision

      without hearing.    In any event, if within 45 days of filing of any dispositive or

      nondispositive pretrial motion, the moving party has not brought the motion on for

      hearing or advised the court that the motion is ripe for decision, the motion will be

      deemed denied without further notice or order of this court, and the court will not

      entertain a renewed motion on the same issue, except for good cause.

10.   Motions for summary judgment must be filed no later than 40 days before the trial and

      unless the parties agree otherwise, must be served at least 14 days before the time noticed

      for the hearing. The hearing must be scheduled no less than 15 days prior to trial, except

      with prior permission of the court. Any response to the motion, including the brief in

      opposition, must be filed before the day of the hearing, or in any event, no later than 14

      days after service of the motion.

11.   If a motion is unopposed and the moving party certifies such fact in the motion, no brief

      need be filed, nor response made to the motion. Nondispositive motions, including

      motions for enlargement of time, whether or not opposed, may be acted upon at any time

      by the court, without awaiting a response, and any party adversely affected by such action

      may request reconsideration, vacation, or modification.

12.   Any motion to join other parties and to amend the pleadings must be filed prior to the

      cutoff day for discovery.

13.   All motions pertaining to the admission of evidence, including motions in limine and

      motions for qualification of experts, shall be directed to the presiding district judge. All

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      nondispositive pretrial motions and issues, including discovery matters and requested

      changes to this order, shall also be directed to the presiding district judge. The court will

      sometimes refer individual issues and motions for consideration by a United States

      Magistrate Judge, pursuant to 28 U. S. C. § 636(b)(1)(A).

                                            Discovery

14.   Unless the parties stipulate otherwise, they must confer and develop a discovery plan as

      required by Rule 26(f) and make initial disclosures as required by Rule 26(a)(1).

15.   All discovery must be completed at least 46 days prior to trial. This schedule requires

      that all written discovery be served in sufficient time to allow the responding party time

      to respond before the cutoff date for discovery.

16.   Except disclosures under Rule 26(a)(3) of trial witnesses and exhibits, which the parties

      must file, the parties are not to file discovery or disclosure material unless and until

      actually used in the proceeding.

17.   If a party withholds information otherwise discoverable by claiming that it is privileged

      or protected by work product doctrine, that party shall file a privilege log not later than

      10 days prior to the discovery cutoff date, which shall describe the nature of the

      documents, communications or things not produced in such a fashion as will enable the

      other parties to assess the applicability of the privilege or protection.

18.   Disclosure or discovery of electronically stored information shall be governed by Rule

      26(b)(2)(B).

                                             Witnesses

19.   Expert witnesses who are retained or specially employed to provide expert testimony in

      the case or whose duties as an employee of the party regularly involve giving expert

      testimony must prepare a written report that conforms to the requirements of




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      Rule 26(a)(2)(B). The Plaintiff shall disclose experts 120 days before trial. Defendant

      shall disclose experts 90 days before trial. Supplemental and additional reports may be

      thereafter submitted, if submitted in sufficient time that discovery, if desired, can be

      completed reasonably before the discovery cutoff date without undue duplication and

      expense.

20.   With respect to expert witnesses who are not retained or specially employed to provide

      expert testimony or whose duties as an employee of the party do not regularly involve

      giving expert testimony, such as a treating physician, or other person who may qualify as

      both an expert and a fact witness, the plaintiff must disclose the identity of any such

      witnesses and provide a summary of all opinions the witness will render and the basis

      therefor not later than 45 days from the date of this order. The defendant must disclose

      the identity of any such witnesses and provide a summary of all opinions the witness will

      render and the basis therefor not later than 60 days from the date of this order.

      Supplemental and additional disclosures may be thereafter submitted, if submitted in

      sufficient time that discovery, if desired, can be completed reasonably by the discovery

      cutoff date without undue duplication and expense.

21.   Any motion to exclude the testimony of an expert based on the sufficiency or the

      reliability of the expert's testimony must be filed no later than the deadline for filing

      motions for summary judgment.

                                  Use of Depositions at Trial

22.   Unless otherwise agreed by the parties, depositions or portions thereof, from persons not

      appearing at trial may be read into the record at trial, only if designated for such use at

      least fourteen days prior to the beginning of the trial. Objection to such designations, and

      counter designations, must be filed no less than three business days prior to the beginning

      of the trial.

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23.   Except for depositions of persons designated pursuant to Rule 30(b)(6), or for purposes of

      impeachment of a witness, depositions from witnesses appearing at trial may not be read

      into the record, unless otherwise agreed by the parties or unless leave of court is first

      sought and received.

                                         Mediation

24.   The court makes active use of mediation practice.        This case may be referred for

      mediation at the request of either party, or on the court's own motion. Mediation of the

      case shall proceed independently of all other pretrial development. Mediation of the case

      shall not operate so as to modify or stay the scheduling provisions of any pretrial order,

      except upon demonstration of exceptional cause.

                                   Summary of Deadlines

25.   Trial Date                                          July 28-31, 2020

      Submit Jury Instructions                            7 days before trial

      Object to Deposition Testimony or Exhibits          7 days before trial

      Disclose Witnesses and Exhibits                     14 days before trial

      File Summary Judgment Motions and                   June 18, 2020
      Motions to Exclude Experts

      Complete Discovery                                  June 12, 2020

      Enter: This 19th day of September, 2019.

                                                           s/ Glen E. Conrad
                                                          Senior United States District Judge




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